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 4
                                  UNITED STATE DISTRICT COURT
 5
                                IN AND FOR THE DISTRICT OF NEVADA
 6
     JULIE KEY,
 7
                   Plaintiff,
 8
     v.                                                   3:21-cv-00188-LRH-CSD
 9
     JOHN F. WITZEL, JR.; STEENS
10   MOUNTAIN PACKERS, an
     Oregon domestic corporation;
11   HELI-STEENS and FRENCHGLEN                           STIPULATED MODIFIED DISCOVERY
     BLACKSMITHS,                                         PLAN AND SCHEDULING ORDER
12                                                        (SECOND MODIFICATION)
13                 Defendants.
14   JOHN F. WITZEL, JR., an individual;
     STEENS MOUNTAIN PACKERS, INC.,
15   an Oregon corporation; and COLTON
     WITZEL, an individual,
16
                   Counterclaimants,
17
     v.
18
     JULIE KEY, an individual; PINE GROVE
19   FARMS, INC., a Nevada corporation; and
     ROYAL PEACOCK OPAL MINES, INC.,
20   a Nevada corporation,
21                 Counterdefendants. /
22          Plaintiff JULIE KEY (hereinafter “KEY”) and Defendants JOHN F. WITZEL, JR., STEENS
23   MOUNTAIN PACKERS, INC.; HELI-STEENS; and FRENCHGLEN BLACKSMITHS (hereinafter
24   collectively “DEFENDANTS”) hereby stipulate:
25          1. KEY has retained an expert witness and timely provided to DEFENDANTS all required
26   information regarding her expert, with the exception of his report. KEY has still been unable to
27
28                                                  -1-
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 1   obtain the expert’s report because she did not have all of the discovery that she requested and that
 2   the expert needed. His report, pursuant to the current order, is due June 23, 2022.
 3          2. On June 22, 2022 DEFENDANTS provided to KEY the remaining financial records that
 4   KEY’s expert needs to complete his report. He can have his report completed by July 22, 2022.
 5          3. LR 26-3(a). Discovery completed to-date.
 6                  June 4, 2021           PLAINTIFF’S INITIAL DISCLOSURES PURSUANT TO
                                           NRCP (sic) 16.1
 7
 8                  June 4, 2021           DEFENDANTS’ AND COUNTERCLAIMANTS’ FRCP 26
                                           INITIAL DISCLOSURE STATEMENT
 9
                    August 4, 2021         PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF
10                                         DOCUMENTS TO DEFENDANTS
11                  September 14, 2021     COUNTERCLAIMANTS’ FIRST SET OF REQUESTS FOR
                                           PRODUCTION TO COUNTERDEFENDANTS
12
                    September 14, 2021 DEFENDANTS’ RESPONSES TO PLAINTIFF’S FIRST
13                                     REQUEST FOR PRODUCTION OF DOCUMENTS
14                  October 25, 2021       STIPULATION AND ORDER FOR PROTECTIVE ORDER
                                           GOVERNING DISCLOSURE OF CONFIDENTIAL
15                                         INFORMATION
16                  November 3, 2021       DEFENDANTS’ FIRST SUPPLEMENTAL RESPONSES
                                           TO PLAINTIFF’S FIRST REQUEST FOR PRODUCTION
17                                         OF DOCUMENTS
18                  December 21, 2021      PLAINTIFF’S/COUNTERDEFENDANTS’ SECOND
                                           REQUEST FOR PRODUCTION OF DOCUMENTS
19
                    January 3, 2022        DEFENDANTS’ EXPERT WITNESS DISCLOSURE
20                                         PURSUANT TO F.R.C.P. 26 (a)(2)
21                  January 6, 2022        PLAINTIFF’S/COUNTERDEFENDANTS’ DISCLOSURE
                                           OF EXPERT WITNESS (All required information, with the
22                                         exception of the expert’s report, was disclosed.)
23                  January 14, 2022       STIPULATED MODIFIED DISCOVERY PLAN AND
                                           SCHEDULING ORDER (FIRST MODIFICATION)
24
                    January 18, 2022       [PLAINTIFF’S] SECOND SUPPLEMENTAL
25                                         DISCLOSURES PURSUANT TO FRCP 26
26                  February 4, 2022       DEFENDANTS’ RESPONSES TO PLAINTIFF’S SECOND
                                           REQUEST FOR PRODUCTION OF DOCUMENTS
27
28                                                   -2-
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 1                 February 4, 2022      DEFENDANTS’ AND COUNTERCLAIMANTS’ FRCP 26
                                         THIRD SUPPLEMENTAL DISCLOSURE STATEMENT
 2
                   February 4, 2022      DEFENDANTS’ SECOND SUPPLEMENTAL RESPONSES
 3                                       TO PLAINTIFF’S FIRST REQUEST FOR PRODUCTION
                                         OF DOCUMENTS
 4
                   March 4, 2022         DEFENDANTS’ AND COUNTERCLAIMANTS’ FRCP 26
 5                                       FOURTH SUPPLEMENTAL DISCLOSURE STATEMENT
 6                 March 4, 2022         DEFENDANTS’ AND COUNTERCLAIMANTS’ FIFTH
                                         FRCP 26 SUPPLEMENTAL DISCLOSURE STATEMENT
 7
                   May 11, 2022          Deposition of John F. Witzel, Jr.
 8
                   May 12, 2022          Deposition of Julie Key
 9
                   May 18, 2022          [PLAINTIFF’S] THIRD SUPPLEMENTAL DISCLOSURE
10                                       PURSUANT TO FRCP 26
11                 May 20, 2022          COUNTERCLAIMANTS’ SECOND SET OF REQUESTS
                                         FOR PRODUCTION TO COUNTERDEFENDANTS
12
                   June 17, 2022         COUNTERCLAIMANTS’ THIRD SET OF REQUESTS
13                                       FOR PRODUCTION TO COUNTERDEFENDANTS
14                 June 17, 2022         DEFENDANTS’ AND COUNTERCLAIMANTS’ FRCP 26
                                         SIXTH SUPPLEMENTAL DISCLOSURE STATEMENT
15
            LR 26-3(b). Discovery that remains to be completed.
16
                   1. KEY needs to submit her expert report to DEFENDANTS. DEFENDANTS may
17
     have rebuttal experts. DEFENDANTS will also be submitting an additional expert report.
18
                   2. Both parties may need to have rebuttal experts.
19
                   3. Because many documents have been produced and requested since the parties’
20
     deposition, the parties may need to re-depose one another. DEFENDANTS may want to depose
21
     KEY’s expert witness.
22
                   4. DEFENDANTS have two (2) lengthy outstanding document requests that they have
23
     submitted to KEY.
24
                   5. KEY may have additional document requests.
25
                   6. Depositions of other witnesses may be taken.
26
            LR 26-3(c). Reasons why the deadline was not satisfied.
27
28                                                 -3-
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 1                  KEY’s expert needed DEFENDANTS’ profit and loss statement for 2019.

 2   DEFENDANTS assert that they believed the profit and loss statements for the years 2014-2020 were

 3   included in their Second Supplemental Disclosure submitted on November 3, 2021. On June 20,

 4   2022, KEY explained that the CPA needed DEFENDANTS’ profit and loss statement for 2019.On

 5   June 22, 2022, DEFENDANTS produced that statement to KEY, electronically, in Quickbooks form.

 6            LR 26-3(d). Proposed schedule for completing all discovery.
 7                   1. EXPERT DISCLOSURES. The parties shall have until July 22, 2022 to submit
 8   any additional expert witness disclosures. The parties shall disclose any rebuttal experts no later than
 9   30 days after the disclosure of these contemplated experts, or August 21, 2022, whichever comes
10   first.
11                  2. DISCOVERY DEADLINE. The new discovery deadline is September 22, 2022.
12   Trial has not been set.
13   DISPOSITIVE MOTION DEADLINE: October 24, 2022
14    JOINT PRETRIAL ORDER DEADLINE: November 23, 2022.
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 1                  3. OTHER PROVISIONS. All other provisions of the Stipulated Discovery Plan and

 2   Stipulated Modified Discovery Plan, that are not in conflict herewith, shall remain in full force and

 3   effect, pending further order of the court.

 4
 5   DATED this 23rd day of June, 2022.                    DATED this 23rd day of June, 2022.
 6   Goicoechea, Di Grazia,                                Robertson, Johnson,
     Coyle & Stanton, Ltd.                                 Miller & Williamson
 7   530 Idaho Street                                      50 West Liberty Street, Suite 600 Reno,
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 8   (775) 738-8091                                        (775) 329-5600
 9
     /s/ Nancy Porter                                      /s/ Samantha J. Reviglio
10   NANCY PORTER, Esq.                                    RICHARD D. WILLIAMSON, Esq.
     Plaintiff’s/Counterdefendants’ Attorneys              SAMANTHA J. REVIGLIO, Esq.
11                                                         Defendants’/Counterclaimants’ Attorneys
12
                                                           IT IS SO ORDERED.
13
                                                           DATED: June 24, 2022
14
15
                                                           _____________________________
16                                                         HONORABLE CRAIG S. DENNEY
                                                           UNITED STATES MAGISTRATE JUDGE
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